WO
                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF ARIZONA

       United States of America
                   v.                             ORDER OF DETENTION PENDING TRIAL

        Antonio Carrizosa-Hernandez               Case Number: 16-08472MJ

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing was held.
Defendant was present and was represented by counsel. I conclude by a preponderance of
the evidence the defendant is a flight risk and order the detention of the defendant pending
trial in this case.

                                       FINDINGS OF FACT
I find by a preponderance of the evidence that:
        ☒     The defendant is not a citizen of the United States or lawfully admitted for
              permanent residence.
        ☒     The defendant, at the time of the charged offense, was in the United States
              illegally.
        ☐     The defendant has no significant contacts in the United States or in the District of
              Arizona.
        ☐     The defendant has no resources in the United States from which he/she might
              make a bond reasonably calculated to assure his/her future appearance.
        ☒     The defendant has a prior criminal history.
        ☐     The defendant lives/works in Mexico.
        ☐     The defendant is an amnesty applicant but has no substantial ties in Arizona or in
              the United States and has substantial family ties to Mexico.
        ☐     There is a record of the defendant using numerous aliases.
        ☐     The defendant attempted to evade law enforcement contact by fleeing from law
              enforcement.
        ☐     The defendant is facing a maximum of                                         years
              imprisonment.

      The Court incorporates by reference the material findings in the Pretrial Services
Report which were reviewed by the Court at the time of the hearing in this matter, except as
noted in the record.

                                   CONCLUSIONS OF LAW

      1.     There is a serious risk that the defendant will flee.
      2.     No condition or combination of conditions will reasonably assure the appearance
             of the defendant as required.
                           DIRECTIONS REGARDING DETENTION

       The defendant is committed to the custody of the Attorney General or his/her
designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant
to the United States Marshal for the purpose of an appearance in connection with a court
proceeding.

                          APPEALS AND THIRD PARTY RELEASE

       IT IS ORDERED that should an appeal of this detention order be filed with the District
Court, it is counsel's responsibility to deliver a copy of the motion for review/reconsideration to
Pretrial Services at least one day prior to the hearing set before the District Judge.

      IT IS FURTHER ORDERED that if a release to a third party is to be considered, it is
counsel's responsibility to notify Pretrial Services sufficiently in advance of the hearing before
the District Court to allow Pretrial Services an opportunity to interview and investigate the
potential third party custodian.

      Dated this 11th day of November, 2016.


                                                                    Honorable John Z. Boyle
                                                                    United States Magistrate Judge
